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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                       )
                                                 )
        Plaintiff,                               )    Criminal No. 6:12-cr-00058-GFVT-HAI-8
                                                 )
 V.                                              )
                                                 )
 ANTHONY DAMRON,                                 )                     ORDER
                                                 )
                                                 )
        Defendant.

                                       *** *** *** ***

       This matter is before the Court on the Recommended Disposition [R. 379] filed by

United States Magistrate Judge Hanly A. Ingram. Defendant Anthony Damron is charged with

four violations of his supervised release stemming from his possession and use of marijuana and

cocaine in December 2017 and January 2018, respectively. [Id. at 1-2.] At a final revocation

hearing before Judge Ingram on February 14, 2018, Mr. Damron admitted the factual basis for

these violations. [See id. at 3.] The matter was then referred to Judge Ingram to recommend a

proposed disposition.

       On February 15, 2018, Magistrate Judge Ingram issued a Recommended Disposition

which recommended revocation of Damron’s supervised release and a fourteen-month term of

imprisonment followed by a four-year term of supervised release. [Id. at 9.] In structuring this

recommendation, Judge Ingram noted that defendant’s current violation is not connected to his

underlying conviction or opiate addiction, but nonetheless “presents a concern that Defendant

will begin to traffic drugs again.” [Id. at 7.] The Magistrate disagreed with the defense’s
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proposition that Damron could benefit from inpatient drug rehabilitation because Damron’s

untruthfulness about his drug use undermines his willingness to seek treatment. [Id. at 8.] Judge

Ingram also noted Damron’s continued breach of the Court’s trust, especially considering the

leniency he received upon his initial revocation. [Id.] The Court notes that Damron, knowing he

would be appearing before the Magistrate Judge on an initial appearance related to his supervised

release violation, still used cocaine in advance of that hearing. [Id. at 2, 9.] On the whole, Judge

Ingram appropriately considered the 18 U.S.C. § 3553 factors throughout his Recommended

Disposition, and he adequately explained why a sentence at the top of the guideline range is

appropriate in this case.

       Pursuant to Rule 59(b) of the Federal Rules of Criminal Procedure, the Recommended

Disposition further advises the parties that objections must be filed within fourteen (14) days of

service. [Id. at 7.] See 28 U.S.C. § 636(b)(1). No objections to Judge Ingram’s Recommended

Disposition have been filed by either party. Indeed, Defendant Damron, through counsel, filed a

waiver of allocution. [R. 383.]

       Generally, this Court must make a de novo determination of those portions of the

Recommended Disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, as in this case, this Court is not required to “review . . . a magistrate’s

factual or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474

U.S. 140, 151 (1985). Parties who fail to object to a magistrate judge’s report and

recommendation are also barred from appealing a district court’s order adopting that report and

recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this

Court has examined the record and agrees with Magistrate Judge Ingram’s Recommended

Disposition. Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as
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follows:

       1.      The Recommended Disposition [R. 379] as to Defendant Anthony Damron is

ADOPTED as and for the Opinion of the Court;

       2.      Defendant Damron is found to have violated the terms of his Supervised Release

as set forth in the Report filed by the U.S. Probation Officer and the Recommended Disposition

of the Magistrate Judge;

       3.      Defendant Damron’s Supervised Release is REVOKED;

       4.      Mr. Damron is SENTENCED to the Custody of the Bureau of Prisons for a

fourteen-month term of imprisonment; and

       5.      Following his release from incarceration, Mr. Damron is placed on supervised

release for a period of four years.



       This the 2nd day of March, 2018.




                                               3
